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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
Vv. CASE No. 8:24-cr-276-VMC-UAM

BROCK DAVID FISCHER

CONSENT TO WAIVER OF DEFENDANT’S PRESENCE AT
ARRAIGNMENT AND RECEIPT OF PLEA OF NOT GUILTY

I hereby accept the waiver of defendant’s presence at
arraignment and entry of not guilty plea and direct that the plea of not guilty
be received for filing. Discovery will proceed according to the previously
entered Pretrial Discovery Order, as subsequently amended by the court.

DATE: July (?, 2024.

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

